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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 MARINA BIBIANO BAILON,
              Plaintiff,                       CIVIL ACTION FILE
       v.                                      NO. 1:15-CV-3664-SCJ

 HS2 HOLDINGS, INC.; HERE TO
 SERVE RESTAURANTS, INC.; and
 LEIGH CATHERALL,
              Defendants.

                                     ORDER

      Counsel for the Plaintiff having advised the Court that the parties to this

matter have reached a settlement in principal, but it appearing that documentation

of the settlement has not yet been concluded, it is therefore ORDERED that this

action be DISMISSED without prejudice to the right, upon good cause shown

within sixty (60) days to reopen the action if settlement is not consummated. The

Clerk is DIRECTED to ADMINISTRATIVELY TERMINATE this action. If this

matter is not reopened by the parties within sixty (60) days it will be deemed to have

been dismissed with prejudice.

      IT IS SO ORDERED, this 3rd day of November, 2016.

                                       s/Steve C. Jones
                                       STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE
